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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. MJ12-456

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   DANIEL YOHANNES,
13
                                   Defendant.
14

15   Offense charged:
16          Count 1:        Conspiracy to Distribute Controlled Substances, in violation of 21
17                          U.S.C. §§ 841(a)(1) and 841(b)(1)(C).

18   Date of Detention Hearing: August 30, 2012.
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
20

21          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

23   defendant is a flight risk and a danger to the community based on the nature of the pending

24   charges. Application of the presumption is appropriate in this case.

25          2.      Defendant has on-going prescription drug abuse problems.

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     DETENTION ORDER
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            3.      Defendant was on active supervision when events in this superseding indictment
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     took place.
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            4.      Defendant has a lengthy history of failures to comply with court orders and
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     supervision. This is the second drug-related offense incurred while on supervised release.
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            5.      There are no conditions or combination of conditions other than detention that
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     will reasonably assure the appearance of defendant as required or ensure the safety of the
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     community.
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            IT IS THEREFORE ORDERED:
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            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
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                    practicable, from persons awaiting or serving sentences or being held in custody
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                    pending appeal;
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            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
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                    counsel;
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            (3)     On order of a court of the United States or on request of an attorney for the
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                    government, the person in charge of the corrections facility in which defendant
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                    is confined shall deliver the defendant to a United States Marshal for the
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                    purpose of an appearance in connection with a court proceeding; and
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            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
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                    counsel for the defendant, to the United States Marshal, and to the United States
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                    Pretrial Services Officer.
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            DATED this 30th day of August, 2012.
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24                                                AJAMES P. DONOHUE
25                                                 United States Magistrate Judge
26


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     18 U.S.C. § 3142(i)
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